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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

MARK WALTERS,                                   )
        Plaintiff,                              )
                                                )
v.                                              )
                                                )
OpenAI, L.L.C.,                                 )
            Defendant.                          )   Civil Action No. 1:23-CV-03122-MLB


                                    AMENDED COMPLAINT

        Plaintiff Mark Walters (“Walters”) states the following as his Amended Complaint:

     1. Walters is a natural person, citizen of the United States, and resident of the State of

         Georgia.

     2. Defendant OpenAI, L.L.C. (“OAI”) is a limited liability company created under

         the laws of the State of Delaware.

     3. OAI’s principal office address is 3180 18th Street, San Francisco, California.

     4. OAI is registered to do business in the State of Georgia, with a registered address

         at 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett County, Georgia.

     5. OAI has an artificial intelligence chat platform, known as ChatGPT.

     6. Users of ChatGPT can interact with the platform in a conversational way, as though

         they are interacting with a human.

     7. ChatGPT can respond to inquiries with sophisticated detail.

     8. Fred Riehl is a third party who works for a media outlet as a journalist and who is

         a subscriber of ChatGPT.

     9. On May 4, 2023, Riehl interacted with ChatGPT about a lawsuit (the “Lawsuit”)

         that Riehl was reporting on.
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10. The Lawsuit is in federal court in the Western District of Washington, case No. 2-

    23-cv-00647, with short caption of The Second Amendment Foundation v. Robert

    Ferguson.

11. The two defendants in the Lawsuit are Robert Ferguson, the Washington Attorney

    General, and Joshua Studor, the Washington Assistant Attorney General.

12. The plaintiffs in the Lawsuit are the Second Amendment Foundation and others,

    including Alan Gottlieb.

13. Walters is neither a plaintiff nor a defendant in the Lawsuit.

14. In the interaction with ChatGPT, Riehl provided a (correct) URL of a link to the

    complaint     on    the    Second      Amendment       Foundation’s      web     site,

    https://www.saf.org/wp-content/uploads/2023/05/Dkt-1-Complaint.pdf.

15. Riehl asked ChatGPT to provide a summary of the accusations in the complaint.

16. ChatGPT responded that the document “[I]s a legal complaint filed by Alan

    Gottlieb, the founder and executive vice president of the Second Amendment

    Foundation (SAF), against Mark Walters, who is accused of defrauding and

    embezzling funds from the SAF. The complaint alleges that Walters, who served

    as the organization's treasurer and chief financial officer, misappropriated funds for

    personal expenses without authorization or reimbursement, manipulated financial

    records and bank statements to conceal his activities, and failed to provide accurate

    and timely financial reports and disclosures to the SAF's leadership. The plaintiff

    seeks various forms of relief, including the recovery of misappropriated funds,

    damages for breach of fiduciary duty and fraud, and removal of Walters from his

    position as a member of the SAF's board of directors.”



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17. Every statement of fact in the summary pertaining to Walters is false.

18. As already noted, Walters is not a party to the Lawsuit.

19. Walters is not accused of defrauding and embezzling funds from the Second

    Amendment Foundation (“SAF”).

20. The complaint does not allege that Walters served as SAF’s treasurer or chief

    financial officer, and he has never held either position.

21. The complaint does not allege that Walters misappropriated funds for personal

    expenses, manipulated financial records or bank statements, or failed to provide

    financial reports to SAF leadership, nor would he have been in a position to do so

    because he has no employment or official relationship with SAF.

22. The complaint does not seek any relief from Walters.

23. The complaint has nothing at all to do with financial accounting claims against

    anyone.

24. SAF publishes the names of its officers and directors on its website.

25. SAF has never listed Walters as its CFO or treasurer.

26. SAF also publishes its audited financial statements on its website.

27. Such audited financial statements have never mentioned the misappropriation of

    funds.

28. OAI knows or can readily determine that Walters has never been the CFO or

    treasurer of SAF.

29. Riehl asked ChatGPT to provide him with a copy of the portion of the complaint

    related to Walters.




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30. ChatGPT responded, “Certainly, here is the paragraph from the complaint that

   concerns Walters: ‘Defendant Mark Walters ("Walters") is an individual who

   resides in Georgia. Walters has served as the Treasurer and Chief Financial Officer

   of SAF since at least 2012. Walters has access to SAF's bank accounts and financial

   records and is responsible for maintaining those records and providing financial

   reports to SAF's board of directors. Walters owes SAF a fiduciary duty of loyalty

   and care, and is required to act in good faith and with the best interests of SAF in

   mind. Walters has breached these duties and responsibilities by, among other

   things, embezzling and misappropriating SAF's funds and assets for his own

   benefit, and manipulating SAF's financial records and bank statements to conceal

   his activities.’”

31. Riehl then asked OAI’s ChatGPT to provide the entire text of the complaint.

32. ChatGPT provided the text in Exhibit 1 to this Complaint.

33. Exhibit 1 is a complete fabrication and bears no resemblance to the actual

   complaint, including an erroneous case number.

34. None of ChatGPT’s statements concerning Walters are in the actual complaint.

35. OAI is aware that ChatGPT sometimes makes up facts, and refers to this

   phenomenon as a “hallucination.”

36. On June 25, 2023, the American Journal of Medicine reported that ChatGPT

   hallucinates to the point that physicians and biomedical researchers should NOT

   ask ChatGPT for sources.”




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37. On August 1, 2023, the Associated Press reported, “Spend enough time with

    ChatGPT and other artificial intelligence chatbots and it doesn’t take long for them

    to spout falsehoods.”

38. On March 13, 2023, the IEEE Spectrum (the official journal of the Institute of

    Electrical and Electronic Engineers) reported, “ChatGPT has wowed the world

    with the depth of its knowledge and the fluency of its responses, but one problem

    has hobbled its usefulness: It keeps hallucinating.”

39. Riehl questioned OAI regarding the accuracy of its statements regarding Walters,

    and OAI insisted that they were accurate.

40. OAI knew or should have known that its statements made via ChatGPT to Riehl

    about Walters were false and defamatory.

41. Even when questioned about the accuracy of its statements, OAI did not attempt to

    verify them.

42. OAI disregarded serious questions about the accuracy of its statements.

43. OAI was reckless in its disregard of the falsity of its statements.

44. OAI CEO Sam Altman was quoted in Fortune in June of 2023 as saying, “I think

    we will get the hallucination problem to a much, much better place. I think it will

    take us a year and a half, two years. Something like that.”

45. Altman also has said, “I probably trust the answers that come out of ChatGPT the

    least of anybody on Earth.”

46. Riehl contacted Gottlieb regarding ChatGPT’s allegations concerning Walters, and

    Gottlieb confirmed that they were false.




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47. ChatGPT’s allegations concerning Walters were false and malicious, expressed in

    print, writing, pictures, or signs, tending to injure Walter’s reputation and exposing

    him to public hatred, contempt, or ridicule.

48. By sending the allegations to Riehl, OAI published libelous matter regarding

    Walters.

49. The communication from OAI to Riehl was not privileged.

50. OAI was negligent in its communication to Riehl regarding Walters.

51. OAI knew or should have known its communication to Riehl regarding Walters

    was false, or recklessly disregarded the falsity of the communication.

52. OAI’s communication to Riehl was libelous per se.

Demand for Relief

Walters demands the following relief:

53. General damages in an amount to be determined at trial.

54. Punitive damages in an amount to be determined at trial.

55. The costs of bringing and maintaining this action, including reasonable attorney’s

    fees.

56. A jury to try this case.

57. Any other relief the court deems proper.

                                                 /s/ John R. Monroe
                                          John R. Monroe
                                          John Monroe Law, P.C.
                                          Attorney for Plaintiff
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               EXHIBIT 1 – Complaint Provided to Riehl by ChatGPT

Certainly, here is the complete document:

UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON AT
SEATTLE

ALAN M. GOTTLIEB, individually and as Founder and Executive Vice President of the
Second Amendment Foundation, Plaintiff, v. MARK WALTERS, an individual,
Defendant.

Case No. 2:23-cv-00555

COMPLAINT

Plaintiff Alan M. Gottlieb ("Gottlieb" or "Plaintiff"), individually and as Founder and
Executive Vice President of the Second Amendment Foundation ("SAF"), brings this
action against Defendant Mark Walters ("Walters") for breach of fiduciary duty, fraud,
and other claims arising from Walters' misappropriation of SAF's funds and assets for his
own benefit, and his manipulation of SAF's financial records and bank statements to
conceal his activities. Plaintiff alleges as follows:

NATURE OF THE ACTION

   This is an action for damages and other relief arising from the Defendant's breaches of
his fiduciary duties and other misconduct while serving as the Treasurer and Chief
Financial Officer of SAF. Specifically, Defendant has embezzled and misappropriated
SAF's funds and assets for his own benefit, manipulated SAF's financial records and bank
statements to conceal his activities, and failed to provide accurate and timely financial
reports and disclosures to SAF's leadership. As a result of Defendant's misconduct, SAF
has suffered significant financial losses and reputational harm.

JURISDICTION AND VENUE

  This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
costs, and is between citizens of different states. Plaintiff is a citizen of Washington.
Defendant is a citizen of Georgia.

  Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial
part of the events or omissions giving rise to the claims occurred in this judicial district,
and Defendant resides in Georgia.

PARTIES

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   Plaintiff Alan M. Gottlieb is an individual who resides in Washington. Gottlieb is the
Founder and Executive Vice President of SAF. Gottlieb has been a member of SAF's
board of directors since its inception in 1974 and has served as its Executive Vice
President since 1981. As a member of SAF's board of directors and its Executive Vice
President, Gottlieb owes SAF a fiduciary duty of loyalty and care, and is required to act
in good faith and with the best interests of SAF in mind.

   Defendant Mark Walters ("Walters") is an individual who resides in Georgia. Walters
has served as the Treasurer and Chief Financial Officer of SAF since at least 2012.
Walters has access to SAF's bank accounts and financial records and is responsible for
maintaining those records and providing financial reports to SAF's board of directors.
Walters owes SAF a fiduciary duty of loyalty and care, and is required to act in good
faith and with the best interests of SAF in mind. Walters has breached these duties and
responsibilities by, among other things, embezzling and misappropriating SAF's funds
and assets for his own benefit, and manipulating SAF's financial records and bank
statements to conceal his activities.

FACTUAL ALLEGATIONS

I. SAF and its Mission

   The Second Amendment Foundation is a non-profit organization that advocates for the
right to bear arms, educates the public on firearm safety and related issues, and conducts
research on firearms and the Second Amendment to the United States Constitution.

  SAF was founded in 1974 by Gottlieb and a group of firearms enthusiasts in Seattle,
Washington. Since then, SAF has grown into a leading organization in the firearms rights
movement, with a national and international presence. SAF's activities include litigation,
public education, and advocacy on behalf of gun owners and other supporters of the
Second Amendment.

II. Walters' Misconduct

   Since at least 2012, Walters has served as the Treasurer and Chief Financial Officer of
SAF. In that capacity, Walters has had access to SAF's bank accounts and financial
records, and has been responsible for maintaining those records and providing financial
reports to SAF's board of directors.

   Walters owes SAF a fiduciary duty of loyalty and care, and is required to act in good
faith and with the best interests of SAF in mind. Despite this duty, Walters has engaged
in a pattern of misconduct designed to enrich himself at SAF's expense and conceal his
activities from SAF's leadership.




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   Specifically, Walters has embezzled and misappropriated SAF's funds and assets for
his own benefit, including by using SAF's funds to pay for personal expenses such as
vacations, gifts, and clothing without authorization or reimbursement.

   Walters has also manipulated SAF's financial records and bank statements to conceal
his activities, including by making false entries and omitting relevant information.

   In addition, Walters has failed to provide accurate and timely financial reports and
disclosures to SAF's leadership, thereby hindering their ability to oversee the
organization's financial operations and make informed decisions.

   As a result of Walters' misconduct, SAF has suffered significant financial losses and
reputational harm. Plaintiffs believe that Walters' misappropriation of funds is in excess
of $5,000,000.

COUNT I
(Breach of Fiduciary Duty)

  Plaintiff realleges and incorporates by reference the preceding paragraphs.

   Walters owes SAF a fiduciary duty of loyalty and care, and is required to act in good
faith and with the best interests of SAF in mind.

   Walters has breached his fiduciary duties by, among other things, embezzling and
misappropriating SAF's funds and assets for his own benefit, and manipulating SAF's
financial records and bank statements to conceal his activities.

   Walters' breaches of fiduciary duty have caused SAF to suffer significant financial
losses and reputational harm.

  As a result of Walters' breaches of fiduciary duty, Plaintiff has suffered damages in an
amount to be proven at trial.

   Plaintiff is entitled to recover damages for Walters' breaches of fiduciary duty, as well
as any other relief that the Court deems just and equitable.

COUNT II
(Fraud)

  Plaintiff realleges and incorporates by reference the preceding paragraphs.

   Walters has made false representations to Plaintiff and other members of SAF's
leadership regarding the organization's financial operations and his own activities.

  Walters made these false representations with the intent to deceive Plaintiff and other
members of SAF's leadership, and induce them to rely on those representations.

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  Plaintiff and other members of SAF's leadership reasonably relied on Walters' false
representations to their detriment.

  Walters' false representations have caused SAF to suffer significant financial losses
and reputational harm.

   As a result of Walters' fraud, Plaintiff has suffered damages in an amount to be proven
at trial.

   Plaintiff is entitled to recover damages for Walters' fraud, as well as any other relief
that the Court deems just and equitable.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Alan M. Gottlieb, individually and as Founder and Executive
Vice President of the Second Amendment Foundation, respectfully requests that this
Court enter judgment in favor of Plaintiff and against Defendant Mark Walters as
follows:

A. Awarding damages to Plaintiff for Defendant's breaches of fiduciary duty and fraud, in
an amount to be proven at trial;

B. Removing Defendant
User
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"WHEREFORE, Plaintiff Alan M. Gottlieb, individually and as Founder and Executive
Vice President of the Second Amendment Foundation, respectfully requests that this
Court enter judgment in favor of Plaintiff and against Defendant Mark Walters as
follows:

A. Awarding damages to Plaintiff for Defendant's breaches of fiduciary duty and fraud, in
an amount to be proven at trial;

B. Removing Defendant Walters from his position as a member of SAF's board of
directors and any other positions of authority or influence he holds with SAF;

C. Ordering Defendant Walters to account for and disgorge all funds and assets that he
has embezzled or misappropriated from SAF, together with interest;

D. Awarding Plaintiff punitive damages in an amount to be proven at trial;

E. Awarding Plaintiff its costs and reasonable attorneys' fees incurred in prosecuting this
action; and



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F. Granting such other relief as the Court deems just and equitable.




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